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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT

MDL No. _ 3126

& TITLE - IN RE; Snowflake, Inc., Data Security Breach Litigation

1. Oral Argument — Check ONE of the following boxes:

Vv

The attomey designated below shall PRESENT ORAL ARGUMENT at the Panel
hearing session on behalf of the designated party or parties. (Note: All attorneys
presenting oral argument should be mindful of Panel Rule 11.1(d)G), which states
that:

Absent Panel approval and for good cause shown, only those parties to
actions who have filed a motion or written response to a motion or order
shall be permitted to present oral argument.

Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
oral argument for the purpose of selecting a spokesperson to avoid duplication
during oral argument.)

The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
Rule 11.1(b)G). (Note: A party waiving oral argument need not appear at the
hearing session, through counsel or otherwise.)

The party or parties listed hereafter will WATVE ORAL ARGUMENT IF ALL
OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
the attorney designated below shall present oral argument at the Panel hearing
session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
In the event of a global waiver, the parties and their counsel need not attend the
hearing session.)

2. Position on Centralization — Check ONE of the following boxes:

v

Support Centralization
Oppose Centralization

Other

3. Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
if the Panel orders centralization over your objections, indicate your proposed transferee
district(s) here:

District of Montana

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Change of Position from Written Response — If your position regarding Centralization or
the choice of transferee district has changed from the position set forth in your motion or
written response to the motion or order, check the following box:

Parties Represented — Indicate party name and state whether plaintiff or defendant. Attach
list if more than one action:
See attached List

Short Case Caption(s) — Include District(s) and Civil Action No(s). Attach list ifmore than
one action:
See Attached List

Name and Address of Attorney Designated to Present Oral Argument:

John Heenan
Name

Heenan & Cook

Law Firm
Billings MT
City State

Telephone No.: 406-839-9091

Email Address: john@lawmontana.com , lisa@lawmontana,com

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Printed Name Authorized Signature

JPML Form 9 (12/15)
